Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 1 of 18

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IN THE UNITED STATES DISTRICT COURT FOR THE

 

NORTHERN DISTRICT OF OKLAHOMA FILED
(1) STEPHEN REAGOR ) JUN 92 2015
_. ) |
Plaintiff, ) Phil Lombardi, Clerk
U.S. DISTRICT COURT
Vv.
) Case No.
(1) SOUTHERN FOODS GROUP, LLC )
d/b/a BORDEN DAIRY PRODUCTS - JHP - FHM
) 45(V -345
)
Defendant.
NOTICE OF REMOVAL
Te Southern Foods Group, LLC, d/b/a Borden Dairy Products (“Defendant”) is the

defendant in a civil action brought against it in the District Court of Tulsa County, State of
Oklahoma, and titled Stephen Reagor vy. Southern Foods Group, LLC d/b/a Borden Dairy
Products, Case No. CJ-2015-1297.

2. Originally, this case had two defendants. However, Stephen Reagor (“Plaintiff”)
dismissed Borden Dairy Company of Texas, LLC from the case without prejudice on June 18,
2015.

3. Plaintiff asserts claims arising under federal law, namely Title VII of the Civil
Rights Act of 1964, 42 U.S.C. § 2000e et seg, and 29 U.S.C. § 216(b).

4. This is the kind of action of which the United States District Courts have original
jurisdiction because of a federal question. 28 U.S.C. § 1331. Therefore, this action is removable
under 28 U.S.C. § 1441(a).

a. The aforementioned action was commenced by service of summons upon The
Corporation Company, as registered service agent for Defendant, on June 1, 2015, and this

Notice of Removal, therefore, is timely under 28 U.S.C. § 1446(b).
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 2 of 18

6. Pursuant to 28 U.S.C. § 1446(a) and N.D. LCvR 81.2, copies of all process,

pleadings, and orders filed or served in the state court action, along with a docket sheet from the

case, are attached hereto as Exhibits | through 5.

DATED June 22, 2015.

Respectfully submitted,

fi) A ~ f ,

ME. CAL dot
Randall J. Snapp, OBA #11169
Allison E. Osborn, OBA #31677
CROWE & DUNLEVY
A Professional Corporation
500 Kennedy Building
321 South Boston Avenue
Tulsa, OK 74103-3313
(918) 592-9800
(918) 592-9801 (Facsimile)
randall.snapp@crowedunlevy.com
ATTORNEYS FOR DEFENDANT

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing was delivered to the
Court Clerk of Tulsa County, Oklahoma, Tulsa County Courthouse, 500 S. Denver, Tulsa,
Oklahoma 74103 and was mailed, postage prepaid, this 22d day of June, 2015 to the following
attorney for Plaintiff:

Daniel E. Smolen

Smolen, Smolen & Roytman, PLLC

701 South Cincinnati Avenue
Tulsa, OK 74119

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Allison E. Osborn
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 3 of 18
Case Information - OSCN Page 1 of 4

OKLAHOMA

State Courts Network

      

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this information. Verify all information with the official record keeper. The information contained in this report
is provided in compliance with the Oklahoma Open Records Act, 51 O.S. 24A.1. Use of this information is
governed by this act, as well as other applicable state and federal laws.

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA

STEPHEN REAGOR, No. CJ-2015-1297

Plaintiff, (Civil relief more than $10,000:
V. DISCRIMINATION)
SOUTHERN FOODS GROUP LLC, DBA
BORDEN DAIRY PRODUCTS Filed: 04/06/2015

Defendant, and
BORDEN DAIRY COMPANY OF TEXAS LLC,
Defendant. Judge: Kuehn, Dana

PARTIES

BORDEN DAIRY COMPANY OF TEXAS LLC, Defendant
REAGOR, STEPHEN, Plaintiff
SOUTHERN FOODS GROUP LLC, Defendant

ATTORNEYS
Attorney Represented Parties
SMOLEN SMOLEN & ROYTMAN PLLC REAGOR, STEPHEN

701 SO CINCINNATI AVE
TULSA, OK 74119

EVENTS

None

ISSUES

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.

EXHIBIT

SS SS

http://www.oscn.net/dockets/GetCaseInformation.aspx?db=tulsa&number=CJ-2015-01297 — 6/19/2015
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 4 of 18
Case Information - OSCN Page 2 of 4

Issue # 1. Issue: DISCRIMINATION (DISCRIM)
Filed By: REAGOR, STEPHEN
Filed Date: 04/06/2015

Party Name Disposition Information
Defendant: Pending.

SOUTHERN FOODS GROUP LLC

Defendant: Disposed: DISMISSED WITHOUT

BORDEN DAIRY COMPANY OF TEXAS LLC PREJUDICE, 06/18/2015. Other

DOCKET
Date Code Description Count Party Amount
04-06-2015 TEXT Civil relief more than $10,000 Initial Filing. 1

04-06-2015 DISCRIM DISCRIMINATION
04-06-2015 DMFE DISPUTE MEDIATION FEE $ 2.00

04-06-2015 PFE1 PETITION $ 163.00
Document Available (#1029069492)

04-06-2015 PFE7 LAW LIBRARY FEE $ 6.00
04-06-2015 OCISR Oklahoma Court Information System Revolving Fund $ 25.00
04-06-2015 CCADMINO2 Court Clerk Administrative Fee on $2 Collections $ 0.20
04-06-2015 OCJC Oklahoma Council on Judicial Complaints Revolving $ 2.00
Fund
04-06-2015 OCASA Oklahoma Court Appointed Special Advocates $ 5.00
04-06-2015 CCADMINO4 Court Clerk Administrative Fee on Collections $ 0.50
04-06-2015 LTF Lengthy Trial Fund $ 10.00
04-06-2015 SMF Summons Fee (Clerks Fee)-2 $ 10.00
04-06-2015 SMIMA Summons Issued - Mailed by Attorney
04-06-2015 TEXT OCIS has automatically assigned Judge Kuehn, Dana
to this case.

http://www.oscn.net/dockets/GetCaseInformation.aspx?db=tulsa&number=CJ-2015-01297 — 6/19/2015
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 5 of 18
Case Information - OSCN Page 3 of 4

Date Code Description Count Party Amount

04-06-2015 ACCOUNT Receipt # 2015-3064104 on 04/06/2015.

06-08-2015 S

06-08-2015 S

06-18-2015 DWOP

Payor:SMOLEN SMOLEN Total Amount Paid:
$223.70.

Line Items:

CJ-2015-1297: $173.00 on ACO1 Clerk Fees.
CJ-2015-1297: $6.00 on AC23 Law Library Fee.
CJ-2015-1297: $0.70 on AC31 Court Clerk Revolving
Fund.

CJ-2015-1297: $5.00 on AC58 Oklahoma Court
Appointed Special Advocates.

CJ-2015-1297: $2.00 on AC59 Oklahoma Council on
Judicial Complaints Revolving Fund.

CJ-2015-1297: $2.00 on AC64 Dispute Mediation
Fees.

CJ-2015-1297: $25.00 on AC79 OCIS Revolving
Fund.

CJ-2015-1297: $10.00 on AC81 Lengthy Trial Fund.

Party has been successfully served./ FOR
SOUTHERN FOODS GROUP LLC / BY CERT MAIL /
SIGNED KORRI BEHLER / ON 6-1-2015

Document Available (#1029878519)

Party has been successfully served./ FOR BORDEN
DAIRY CO OF TEXAS LLC / BY CERT MAIL /
SIGNED KORRI BEHLER /6-1-15

Document Available (#1029878515)

STIPULATION OF DISMISSAL WITHOUT
PREJUDICE AS TO DEFENDANT BORDEN DAIRY
COMPANY OF TEXAS LLC ONLY BY PLT
Document Unavailable (#1029879871)

06-18-2015 DISPDWOP DISMISSAL WITHOUT PREJUDICE

SOUTHERN FOODS
GROUP LLC

BORDEN DAIRY
COMPANY OF
TEXAS LLC

BORDEN DAIRY
COMPANY OF
TEXAS LLC

BORDEN DAIRY
COMPANY OF
TEXAS LLC

http://www.oscn.net/dockets/GetCaseInformation.aspx?db=tulsa&number=CJ-2015-01297

6/19/2015
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 6 of 18

IN THE DISTRICT COURT FOR TULSA COUNTY

 

 

STATE OF OKLAHOMA
STEPHEN REAGOR, an individual ) tll Hn PUNE |
) *1029069492«
Plaintiff, ) Case No. .
. Cj-2015-0 297
) fs Y¥NN KUEHRN
(1) SOUTHERN FOODS GROUP, LLC?) DANA. L iNN KU :
d/b/a BORDEN DAIRY PRODUCTS ) ATTORNEY LIEN CLAIMED
a Foreign Limited Liability Company, and )
(2) BORDEN DAIRY COMPANY OF ) DISTRICT COURT
TEXAS, LLC, ) FILED
)
Defendants. ) APR - 6 2015
PETITION SALLY HOWE SMITH, COURT CLERK
——_ STATE OF OKLA. TULSA COUNTY

COMES NOW the Plaintiff, Stephen Reagor, by and through his attorney of
record, Daniel E. Smolen, of Smolen, Smolen & Roytman, PLLC, and brings this action
against Defendants, Southern Food Groups, LLC d/b/a Borden Dairy Products, and
Borden Dairy Company of Texas, LLC, (collectively “Defendants”) for violation of his
constitutionally protected rights arising out of his employment and termination by said
Defendants. - = oe

PARTIES, JURISDICTION AND VENUE

  

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1. Plaintiff is a resident of Tulsa County, State of Oklahoma.

=

2. Defendant Southern Food Groups, LLC d/b/a Borden Dairy Products, is a foreign:
limited liability company regularly conducting business in Tulsa County, State of
Oklahoma, and employs more than fifteen (15) people.

3. Defendant Borden Dairy Company of Texas, LLC, is a foreign limited liability

company regularly conducting business in Tulsa County, State of Oklahoma, and

employs more than fifteen (15) people.

EXHIBIT

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6 @

4. The incidents and occurrences that form the basis of Plaintiff's action occurred in
Tulsa County, State of Oklahoma. .

5, Plaintiff filed a Charge of Discrimination with the Equal Employment
Opportunity Commission (“EEOC”) complaining of discrimination based on race
and retaliation. A Notice of Right to Sue was received by Plaintiff, and this
Petition has been filed within ninety (90) days of the receipt of the Notice. As
such, all conditions precedent to the filing of this lawsuit are fulfilled.

6. This Court has jurisdiction and venue is proper in Tulsa County, State of
Oklahoma.

7. Plaintiff brings this action for damages under Title VII of the Civil Rights Act of
1964, as amended 42 U.S.C. §2000¢e et seq. (“Title VII”), providing for relief
against discrimination in employment on the basis of race.

8. Plaintiff brings this action for damages under Title VII of the Civil Rights Act of
1964, 42 U.S.C. §2000e-3(a), for terminating the Plaintiff in retaliation for
reporting race discrimination.

9, Plaintiff brings this action for damages under the Oklahoma Anti-Discrimination
Act (OADA) 25 O.S. § 1301, ef seq., for race discrimination prohibited under the
laws of the State of Oklahoma.

10. Plaintiff brings this action for damages under the Oklahoma Anti-Discrimination
Act (OADA) 25 O.S. § 1601, et seq., providing for relief against retaliation for
terminating the Plaintif in retaliation for reporting race discrimination.

11. Compensatory damages are sought pursuant to 42 U.S.C. § 2000e, ef seg. and 29

U.S.C. § 216(b).

 
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12. Costs and attorney’s fees may be awarded pursuant to 42 U.S.C. § 2000¢, ef seq.

13. Compensatory damages, liquidated damages, equitable relief, costs, and
attorney’s fees may be awarded pursuant to 25 O.S. § 1350(c).

FACTS COMMON TO ALL CLAIMS

14. Plaintiff incorporates as if realleged the preceding paragraphs.

15. Plaintiff is an African-American.

16. Plaintiff was hired by Defendant on July 18, 2012 as a Class B route Driver, and
was a punctual, diligent, and committed employee of the Defendant during his
two years of service.

17. Prior to his termination, Plaintiff had no record of poor performance or
disciplinary action by the Defendant. In fact, the Plaintiff faithfully performed the
required job duties assigned to him by his supervisors, and the Plaintiff's
reputation among his fellow co-workers was excellent.

18. During his employment, the Plaintiff was subjected to unequal treatment
compared to non-African American drivers, who were exempt from wholesale
delivery routes, the continuation of deliveries absent orders being available, and
were assigned extra help on large delivery routes.

19. Plaintiff requested a meeting to complain about this difference in treatment
approximately one week before he was suspended.

20. On June 11, 2014, Plaintiff was suspended for alleged insubordination, and was
subsequently terminated on June 17, 2014, following a disagreement with his

supervisors regarding the Defendant’s refusal to provide the Plaintiff with help on
21.

22.

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29:

his scheduled route, despite the fact that the route at issue was normally handled
by two workers.

Plaintiff addressed his concerns by going through the proper channels during a
subsequent meeting with the Defendant’s Manager of Human Resources. Plaintiff
believes that the result of his meeting with Human Resources was additional
hostility from his Route Supervisor, Mr. Armond Hockman.

The underlying reasons for Plaintiff's suspension and subsequent termination
were wholly inconsistent with the Defendant’s normal business practices,
Defendant’s company policies under its employee handbook, and the company’s
policies as stated within its Collective Bargaining Agreement between the
Defendant and the Drivers/Salesman-Operations Employees and Tulsa General
Drivers, Warehouseman and Helpers Local Union 523, affiliated with the
International Brotherhood of Teamsters (herein “CBA”).

The CBA explicitly emphasizes the use of progressive discipline for alleged
workplace misconduct. Plaintiff, without accepting that he violated company
policy, was never afforded progressive discipline despite his reputation and work
record.

The Defendant failed to observe its progressive discipline policy as reflected in
the CBA when the Defendant suspended, and subsequently terminated the
Plaintiff, without observing the Defendant’s policy of progressive discipline.
Plaintiff is aware of similarly situated Caucasian employees that were awarded

preferential treatment with regards to the assignment of routes and the application
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 10 of 18

of the Defendant’s policies. Plaintiff is also aware of employees that have
witnessed discriminatory treatment of their co-workers by the Defendant.

26. Plaintiff's co-workers attest that the Plaintiff was disciplined disproportionally
than Caucasian employees for the alleged subordination claimed by the
Defendant’s supervisors.

27. Plaintiff believes that the disparate treatment he suffered through was
discriminatory based on his race and for retaliation.

FIRST CLAIM FOR RELIEF
DISCRIMINATION BASED ON RACE (TITLE VI})

 

28. Plaintiff incorporates the preceding paragraphs as if realleged.

29. Plaintiff's discharge was a direct result of the Defendants discriminatory
application of work policies and practices. These employment practices resulted
in the disparate treatment of African-American employees working for the
Defendant. Caucasian employees were given preferential treatment with regards
to the assignment of routes, staffing of routes, and the application of the
Defendant’s own employment policies and practices.

30. By treating the Plaintiff differently than similarly situated Caucasian employees,
the Defendant has violated Title VII of the Civil Rights Act of 1964.
WHEREFORE, plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for her mental anguish, pain and suffering and other
non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the Defendant’s management,

d. His attorney fees and the costs and expenses of this action;
e. Such other relief as the Court deems just and equitable.
E-F HM. Document 2 Filed in USDC ND/OK on 06/22/15 Page 11 of 18

SECOND CLAIM FOR RELIEF
RETALIATION (TITLE VII)

 

31. Plaintiff incorporates as if re-alleged the preceding paragraphs.

32. Plaintiff complained about the disparity in treatment between African-American
employees and non-African American employees.

33. By terminating Plaintiff's employment in retaliation for his complaints regarding
the unfair treatment and race discrimination, Defendant has violated Title VII of
the Civil Rights Act of 1964, 42 U.S.C. §2000e-3(a).

WHERFORE, Plaintiff prays for judgment against the Defendant for:
a. Back pay and lost benefits; front pay until normal retirement,
b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;
c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives;
d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable.

THIRD CLAIM FOR RELIEF
DISCRIMINATION BASED ON RACE IN VIOLATION OF THE OADA 25 O.S. §

1301 ef seq

34, Plaintiff incorporates the preceding paragraphs as if realleged.

35. By terminating Plaintiff's employment for engaging in the same conduct in which
his Caucasian counterparts engaged without the equal application of disciplinary
action, the Defendant has violated the Oklahoma Anti-Discrimination Act
(OADA) 25 O.S. § 1301, et seq.

WHEREFORE, Plaintiff prays for judgment against the Defendant for:
a. Back pay and lost benefits; front pay until normal retirement
b, Compensatory damages for her mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by Defendant’s management and executives;
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 12 of 18

d. His attorney fees and the costs and expenses of this action;
e. Such other relief as the Court deems just and equitable.

FOURTH CLAIM FOR RELIEF
RETALIATION IN VIOLATION OF THE OADA 25 OS. § 1601 et seg.

36. Plaintiff incorporates as if re-alleged the preceding paragraphs.

37. Plaintiff complained about the disparity in treatment.

38. By terminating Plaintiff's employment in retaliation for his complaints regarding
unfair treatment and race discrimination, Defendant has violated the Oklahoma
Anti-Discrimination Act 25 O.S. §1601, ef seq.

WHERFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement;

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives;

d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable.

WHEREFORE, based on the foregoing, Plaintiff prays that this Court grant him
the relief sought including, but not limited to, actual damages in excess of Seventy-Five
Thousand Dollars ($75,000), with interest accruing from date of filing of suit, punitive
damages in excess of Seventy-Five Thousand Dollars ($75,000), back pay and lost
benefits, compensatory damages for mental anguish, pain and suffering and other non-

ecuniary loss, reasonable attorney’s fees, injunctive relief, and all other relief deemed
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appropriate by this Court.
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 13 of 18

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Respectfully submitted,

 

 

701 South Cincinnati Avenue
Tulsa, OK 74119

(918) 585-2667

(918) 585-2669 (Fax)
Attorney for Plaintiff
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 14 of 18

4 too IN THE DISTRICT COURT FOR TULSA COUNTY

STATE OF OKLAHOMA ALE

*1029878519%

Cgu20 15-01297

 

 

STEPHEN REAGOR, an individual
Plaintiff,
VS.

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)

)

)

(1) SOUTHERN FOODS GROUP, LLC)
)

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)

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)

d/b/a BORDEN DAIRY PRODUCTS ATTORNEY LIEN CLAIMED
a Foreign Limited Liability Company, and
(2) BORDEN DAIRY COMPANY OF
TEXAS, LLC, DISTRICT CouRT
Defendants. I E D
ORIGINAL SUMMONS JUN ~ 8 2015

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Y HOW
SERVE BY U.S. CERTIFIED MAIL, RETURN RECEIPT REQUESTEDSATEOH NTH, COURT ce

Southern Foods Group, LLC
d/b/a Borden Dairy Products
c/o The Corporation Company
1833 S. Morgan Rd.
Oklahoma City, OK 73128

To the above-named Defendant(s)

You have been sued by the above named plaintiff(s), and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service of this summons upon you exclusive of the day of service. Within the same time, a

«copy of your answer must be delivered or mailed to the attorney for the plaintiff. Unless you answer
the petition within the time stated judgment will be rendered against you with costs of the action.

Issued this ZL day of / , 2015

(Seal)

This summons and order was served on

 

 

 

(Signature of person serving summons) \
1

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER i
CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE Ty

EXHIBIT
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 15 of 18

= j CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE
» TIME LIMIT STATED IN THIS SUMMONS.
Return ORIGINAL for filing.
PERSONAL SERVICE ;

I certify that I received the foregoing Summons the day of. , 2015, and that I
delivered a copy of said Summons with a copy of the Petition to the following named defendant
personally in County, at the address and on the
date set forth opposite each name, to-wit:

Name of Defendant Address Date of Service

 

USUAL PLACE OF RESIDENCE
I certify that I received the foregoing Summons on the day of , 2015, and that on
, l served ‘ by leaving a copy of said summons
with a copy of the attached Petition-at: WIN AE crn ese pae a
which:ic hic/her Awellina hance ar uenal nlace af ahnde urith

 

 

  

aan SENDER: COMPLETE THIS SECTION
™ Complete items 1, 2, and 3. Also complete

 

A. Signature

 

 

 

 

Item 4 If Restricted Delivery Is desired. . 0 Agent
Re #® Print your name and address on the reverse x Korri Behler OD Adgi Jlowing
_ so that we can return the card to you. a i LHe Aalders } ‘
PETS wm Attach this card to the back of the mailplece, Sune 4 833 S. Mord th ie “ah i .
or on the front if space permits. : g :
D. Is doh@ieahee mnerelt ty atk? 7B Wes8

1. Article Addressed to:
Fee
Tote Southern Foods Group, LLC

Da d/b/a Borden Dairy Products
c/o The Corporation Company

if YES, enter delivery address below: [ No

 

 

 

 

 

 

 

 

1833 S. Morgan Rd. 3. nade - Mal ty
° 9 : >
Oklahoma City, OK 73128 0 eat ‘a Bs
: O insured Mall ( 01 C.0.D. .

1 4. Restricted Delivery? (Extra Fee) O Yes is

= am tne tdi 70L4 2870 OO01 2703 48303 nake this
1¢
= PS Form 3811, February 2004 Domestic Return Recsipt 102595-02-M-1540 ty

My Commission Expires:

Subscribed to and sworn to before me this day of , 2015.
Seal Notary Public

CERTIFICATE OF SERVICE BY MAIL
I certify that I mailed copies of the foregoing summons with a:copy of the Petition to the
following named defendant at the address shown by certified mail, addressee only, return receipt
requested, on the_-—/__ day of , 2015, and receipt thereof on the dates shown:

Defendant S Address Where Served Date (2 / / / ss
0/; .

Receipted C6 .
wp ignature o son mailing summons
Neo SS Nogala eee :
6c, OL FB xe

 
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 16 of 18

(fp : , IN THE DISTRICT COURT FOR TULSA COUNT™

| STATE OF OKLAHOMA a

10298/78515*
STEPHEN REAGOR, an individual

Plaintiff, CJ~20 1 5 - 0 1 29

vs. )
)
(1) SOUTHERN FOODS GROUP, LLC)
d/b/a BORDEN DAIRY PRODUCTS ) ATTORNEY LIEN CLAIMED
a Foreign Limited Liability Company, and )
(2) BORDEN DAIRY COMPANY OF ) DISTRICT COURT
TEXAS, LLC, ) FILED
)
Defendants. ) JUN -8 2015
ORIGINAL SUMMONS SALLY HOWE SMITH, COURT CLERK
STATE OF OKLA. TULSA COUNTY

 

SERVE BY U.S. CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Borden Dairy Company of Texas, LLC
c/o The Corporation Company

1833 S. Morgan Rd.

Oklahoma City, OK 73128

To the above-named Defendant(s)

You have been sued by the above named plaintiff(s), and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service of this summons upon you exclusive of the day of service. Within the same time, a
copy of your answer must be delivered or mailed to the attorney for the plaintiff. Unless you answer

the petition within the time stated judgment will be rendered against you with costs of the action.

we
Issued this__ / 2 day of , 2015

(Seal)
This summons and order was served on

  

aly SO
Ay

(Signature of person serving siinmoys)
Oo

 

 

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE S
CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE \

j
Vv

EXHIBIT

_
Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15

TIME LIMIT STATED IN THIS SUMMONS,

Page 17 of 18

Lo : | Return ORIGINAL for filing

‘ PERSONAL suavice

I certify that I received the foregoing Summons the

___ day of , 2015, and that I

delivered a copy of said Summons with a copy of the Petition to the following named defendant

personally in County,
date set forth opposite each name, to-wit:

Name of Defendant

 

 

 

Address

at the address and on the

Date of Service

 

USUAL PLACE OF RESIDENCE

I et that I received the Pregoing § Summons Qn the...

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,T served 2) 48)
= GPa: cow wt Pm oatat ae g is

  

SENDER: COMPLETE THIS SEC Uso}

a Complete items 1, 2, and 3. Also complete
Item 4 if Restricted Delivery is desired.
@ Print your name and address on the reverse
R so that we can return the card to you.
@ Attach this card to the back of the mailpiece,

agr

  
   

 

 

 

 

 

per or on the front if space permits.

1.. Article Addressed to:
Fee
To Borden Dairy Company of Texas, LLC

D c/o The Corporation Company
1833 S. Morgan Rd.

   

 

day. of , 2015, and that on
y leaving a copy of said summons

  
  

 

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COMPLETE THId SE TON OK BEL ERY

 

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A. Signature Oy Agent
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X _Korri Behler 1 Addressee
8. Reco HE AG SRROR

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3. Service Type
ifled Mai® © Priority Mall Express™

 

 

 

 

Oklahoma City, OK 73128 Cesar fio aty,
4. Restricted Delivery? (Extra Fee) CO Yes
a ete lanieaiaeesy 7014 2870 0001 2703 8410 his
af Sem SBT Myo aa a
Sheriff of County,

Subscribed to and sworn to before me this
ee

My Commission Expires:
Seal

day of , 2015.

Notary Public

CERTIFICATE OF SERVICE BY MAIL
I certify that I mailed copies of the foregoing summons with a copy of the Petition to the
following named eR the address shown oy certified mail, addressee only, return receipt

requested, on the ay of

Defendant
Receipted ett

Address Where S
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2015, and receipt thereof on the dates shown: '

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Case 4:15-cv-00345-GKF-FHM Document 2 Filed in USDC ND/OK on 06/22/15 Page 18 of 18

IN THE DISTRICT COURT FOR TULSA COUNTY _DISTRICT COURT
STATE OF OKLAHOMA oe Fos

Pao
Crd

STEPHEN REAGOR, an individual

 

Plaintiff, Case No. CJ-2015-1297 8 ai ae - Ae

VS.

(1) SOUTHERN FOODS GROUP, LLC
d/b/a BORDEN DAIRY PRODUCTS

a Foreign Limited Liability Company, and
(2) BORDEN DAIRY COMPANY OF
TEXAS, LLC,

ATTORNEY LIEN CLAIMED

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Defendants.

STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS TO DEFENDANT
BORDEN DAIRY COMPANY OF TEXAS, LLC ONLY

COME NOW the Plaintiff, Stephen Reagor, and hereby dismisses his claim without

prejudice as to Defendant Borden Dairy Company of Texas, LLC only.

Respectfully submitted,

 

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(918) 585-2667
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1 EXHIBIT
